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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
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IN RE:                                §         Chapter 11
GALLERIA 2425 OWNER, LLC,             §         Case No. 23-34815 (JPN)
    Debtor                            §


          LAW OFFICES OF JACK J. ROSE, PLLC AND JACK J. ROSE’S
           MOTION TO WITHDRAW AS COUNSEL FOR 2425 WL, LLC


THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
MOTION AT THE HEARING.

REPRESENTED      PARTIES    SHOULD    ACT    THROUGH      THEIR     RESPECTIVE
ATTORNEYS.
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       The Law Offices of Jack J. Rose, PLLC (the “Firm”) and Jack J. Rose, a partner with the

 Firm (together, with the Firm, “Counsel”), file this motion to withdraw as counsel to WL 2425, LLC,

 (“WL 2425”) in the above-captioned bankruptcy case (the “Motion”) and respectfully states as

 follows:

                                            JURISDCTION

         1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This is

 a core proceeding pursuant to 28 U.S.C § 157(B). Venue is proper before this Court pursuant to

 28 U.S.C §§ 1408 and 1409.

         2.      The statutory and other bases for the relief requested in this Motion is Rule 83.2 of

 the Local Rules for the Southern District of Texas (the “Local Rules”).

                                       RELIEF REQUESTED

         3.      2425 WL has been represented in this case by attorney Stephen W. Sather of Barron

& Newburger, P.C.

         4.      Counsel has been informed that 2425 WL will continue to be represented in this case

by attorney Stephen W. Sather of Barron & Newburger, P.C.

         5.      Pursuant to Rule 83.2 of the Local Rules for the Southern District of Texas, Counsel

respectfully requests to withdraw as counsel for 2425 WL in this matter and all related proceedings

and that all applicable notice and service lists, including the Court’s CM/ECF electronic notification

list be updated accordingly.

         6.      Counsel confirms that (a) Counsel has irreconcilable differences with 2425 WL; (b)

outstanding amounts previously invoiced to 2425 WL remain unpaid; and (c) Counsel has resigned its

representation of 2425 WL; (ii) 2425 WL has accepted Counsel’s resignation; and (iii) 2425 WL

directed Counsel to take no further action in this case.
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        7.      The Motion is not bought for the purposes of delay and withdrawal will not cause

delay in this case or in any related adversary proceeding, and will not cause any delay or prejudice to

any party.

                                          CONCLUSION

        WHERERFORE, Counsel respectfully requests that the Court enter the proposed order

 attached hereto and grant such other and further relief as may be just.

 Dated: April 18, 2024
                                                       Respectfully submitted,

                                                       Law Offices of Jack J. Rose, PLLC and
                                                       Jack J. Rose


                                                       /s/ Jack Rose
                                                       Jack J. Rose*
                                                       jrose@jrlpllc.com

                                                       Law Offices of Jack J. Rose, PLLC
                                                       2001 Palmer Avenue, Suite 104
                                                       Larchmont, New York 10538
                                                       Telephone:   212-655-3066

                                                       Mailing Address
                                                       PO Box 366
                                                       Bronxville, NY 10708

                                                       *admitted pro hac vice
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on the 18th day of April, 2024, he caused a true and correct
copy of the foregoing Motion to Withdraw to be served electronically on those parties requesting
electronic service through the Court’s CM/ECF system.

                                                      /s/ Jack Rose
                                                      Jack J. Rose
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                  IN THE UNITED STATES BANKRUPTCY COURT
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 IN RE:                                      §          Chapter 11
 GALLERIA 2425 OWNER, LLC,                   §          Case No. 23-34815 (JPN)
     Debtor                                  §


            ORDER GRANTING LAW OFFICES OF JACK J. ROSE, PLLC
                AND JACK J. ROSE’S MOTION TO WITHDRAW


      Upon consideration of the Law Offices of Jack J. Rose, PLLC and Jack J. Rose’s Motion

to Withdraw as Counsel for 2425 WL, LLC, it is hereby ORDERED that:

      1.     The Motion is granted.

      2.     Jack J. Rose is removed as counsel of record to 2425 WL, LLC in this matter and

             all related proceedings and all applicable notice and service lists shall be updated

             accordingly.

IT IS SO ORDERED.

Signed:                 , 2024



                                          JEFFREY P. NORMAN
                                          UNITED STATES BANKRUPTCY JUDGE
